              Case 2:16-cr-00009-TLN Document 97 Filed 09/12/19 Page 1 of 1


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 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                     ) CASE NO. 2:16-CR-0009 TLN
                                                   )
11                               Plaintiff,        )             ORDER SEALING THE
                                                   )   GOVERNMENT’S MOTION PURSUANT TO
12                        v.                       )                U.S.S.G. § 5K1.1
                                                   )
13   JOSE RODRIGUEZ-RODRIGUEZ, et al,              )
                                                   )
14                                                 )
                                 Defendants.       )
15                                                 )
                                                   )
16                                                 )
                                                   )
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18         Pursuant to Local Rule 141(b) and based upon the representation contained in the Request to
19 Seal filed by the United States, IT IS HEREBY ORDERED that the government’s motion pursuant to

20 U.S.S.G. § 5K1.1 for defendant Jose Rodriguez-Rodriguez and the Government’s Request to Seal shall

21 be SEALED until further order of this Court.

22 Dated: September 11, 2019

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25                                   Troy L. Nunley
                                     United States District Judge
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